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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
 UNITED STATES OF AMERICA,


 v.         CASE NO. 8:12-CR-2Q5-T-17MAP

 ANGEL VILLANEUVA, et al.

                                   /


                                         ORDER


       This cause is before the Court on:


       Dkt. 765      Motion in Limine (Jerry W. Green, Jr.)
       Dkt. 775      Response

        Defendant Jerry W. Green, Jr. moves to exclude: 1) any mention of Defendant
 Jerry W. Green, Jr. being a “two-time murder winner”; and 2) any mention of a child in
 the vehicle when Defendant Jerry W. Green, Jr. was arrested for felony possession of
 marijuana on June 6, 2012.


       Defendant Green argues that the above evidence is not relevant to the offenses
 charged in Counts 1, 2, 3,18 and 19, pursuant to Fed. R. Ev. 401, and if determined to
 be relevant, the adverse effect of the evidence substantially outweighs its probative
 value, and should be excluded pursuant to Fed. R. Ev. 403.


       The Government responds that evidence is relevant, and its probative value is
 not substantially outweighed by any unfair prejudice to Defendant Green. The
 Government argues that Defendant Green does not allege unfair prejudice, nor
 demonstrate how unfair prejudice would outweigh probative value.



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         Fed. R. Ev. 401 provides:


         Evidence is relevant if:

         (a) it has any tendency to make a fact more or less probable than it would
         be without the evidence; and
         (b) the fact is of consequence in determining the action.


         Fed. R. Ev. 403 provides:

         The court may exclude relevant evidence if its probative value is
         substantially outweighed by a danger of one or more of the following:
         unfair prejudice, confusing the issues, misleading the jury, undue delay,
         wasting time, or needlessly presenting cumulative evidence.



         The threshold for relevance is low. The Government has explained the
 relevance, and Defendant Green has not met his burden of establishing unfair
 prejudice. The Court therefore denies the Motion in Limine. Accordingly, it is


         ORDERED that the Motion in Limine (Dkt. 765) is denied.


         DONE and ORDERED in Chambers in Tampa, Florida on this          £ day of June,
 2016.




 Copies to:
 All parties and counsel of record


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